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 1   JOSEPH N. AKROTIRIANAKIS (Bar No. 197971)
      jakro@kslaw.com
 2   AARON S. CRAIG (Bar No. 204741)
      acraig@kslaw.com
 3   KING & SPALDING LLP
     633 West Fifth Street, Suite 1700
 4   Los Angeles, CA 90071
     Telephone:    (213) 443-4355
 5   Facsimile:    (213) 443-4310

 6   Attorneys for Defendants NSO GROUP TECHNOLOGIES
     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                      OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,    Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                              DECLARATION OF ROY BLECHER IN
                                               SUPPORT OF DEFENDANTS NSO
13                                             GROUP TECHNOLOGIES LIMITED
                 Plaintiffs,
                                               AND Q CYBER TECHNOLOGIES
14                                             LIMITED’S MOTION TO DISMISS FOR
           v.
                                               FORUM NON CONVENIENS
15
     NSO GROUP TECHNOLOGIES LIMITED
16   and Q CYBER TECHNOLOGIES LIMITED,
                                               Date:   October 26, 2023
                 Defendants.                   Time:   1:30 p.m.
17                                             Ctrm:   3
18
                                               Action Filed: 10/29/2019
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     DECLARATION OF ROY BLECHER                                    Case No. 4:19-cv-07123-PJH
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 1          I, Roy Blecher, declare as follows:

 2          1.      I am an attorney licensed to practice law in the State of Israel. I represent NSO

 3   Group Technologies Limited and Q Cyber Technologies Limited (together, the “NSO

 4   Defendants”) in connection with this matter. I have also represented the NSO Defendants in a

 5   number of other matters in Israel. I submit this declaration in support of the NSO Defendants’

 6   Motion to Dismiss for Forum Non Conveniens. I have personal knowledge of the facts set forth

 7   below and, except as otherwise stated, could competently testify to each fact averred.

 8          2.      I am a partner in, and co-founder of, the law firm of Krispin, Rubinstein, Blecher,

 9 Kadouch & Partners. I have 29 years of experience handling both civil and criminal matters in

10 Israel, including having participated in hundreds of trials. I am fluent in Hebrew and English.

11          3.

12

13          4.

14

15                      A                                                                 is attached as

16 Exhibit A. I understand that a copy of Exhibit A was previously provided to this Court.

17          5.

18                                                                        A true and correct

19                                      is attached as Exhibit B. I understand that a copy of Exhibit B

20 was previously provided to this Court.

21          6.

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23          7.

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28 True and correct translations of               are attached as Exhibit C and Exhibit D, respectively.

     DECLARATION OF ROY BLECHER                                                Case No. 4:19-cv-07123-PJH
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 1   I understand that copies of Exhibits C and D were previously provided to this Court.

 2           9.      Under Israeli law, parties may sue for breach of contract. They may also assert

 3   claims under the Israeli Computers Law (5755-1995), which permits tort claims to be brought for

 4   unlawful interference with the use of a computer or computer material, in any way, including by

 5   stealing something embodying computer material; and unlawfully deleting computer material,

 6   causing a change in it or disrupting it in any other way. If successfully asserted, those claims could

 7   permit a plaintiff to recover damages and to obtain injunctive relief.

 8           10.     Israeli courts are also competent to interpret and apply U.S. and California law—

 9   for example, when the contract between the parties states that California law is the prevailing law.

10   [CA 8946/04 Warner Bros. International Television Distribution v. Yochman.]

11           11.     In civil and criminal matters in Israel, there are no pretrial depositions or any other

12   means to examine a witness under oath prior to trial. Despite the Convention on the Taking of

13   Evidence Abroad in Civil or Commercial Matters, Israeli witnesses are very rarely compelled to

14   testify under oath at depositions as part of American civil proceedings.

15           12.     Israeli law includes a privilege against self-incrimination. Moreover, a witness

16   testifying before an Israeli court would have the right not to give testimony that would constitute

17   a criminal offense under Israeli law. This could include, for example, testimony about information

18   subject to Israel’s Defense Export Control Law. There are procedures available under Israeli

19   law—such as in camera hearings, gag orders, and requiring security clearances for counsel in the

20   matter—that could enable a willing witness to testify as to such information without fear of

21   prosecution. Certain agreements, however, would also be required from the Government of Israel.

22   Based on my experience practicing law in Israel, I do not believe the Israeli government would be

23   willing to make such agreements concerning testimony to be given in a deposition for use in a

24   foreign court that may be more reluctant to employ stringent security procedures.

25           13.     Based on a search of Israeli court records, Meta, Facebook, and WhatsApp

26   collectively are currently litigating at least 15 matters in Israel, and previously litigated in Israel a

27   lawsuit brought by employees of NSO and Q Cyber. The currently pending matters are:

28                                                                                 Case No. 4:19-cv-07123-PJH
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     NON CONVENIENS
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